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      Jin Xu
1
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2
      P.O.Box 51081
3
      Irvine, CA 92619
4
      PHONE (424)4087861
5     Plaintiff in Pro Per
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7
8
9                                     UNITED STATES DISTRICT COURT

10                                   CENTRAL DISTRICT OF CALIFORNIA

11
      Jin Xu,                                                  Case No.: 2:23CV01575-FLA(SP)
12
                        Plaintiff,
13
               vs.                                             REQUEST FOR APPOINTMENT OF
14
      City of Los Angeles,                                     COUNSEL
15    Los Angeles Police Department,
16    E. Watts, #43716, John Doe
17    J. Velazquez, #42422, John Doe
18    Hernandez, #43215, John Doe
19    Maldonado, # 43223, John Doe

20    Lt. Sanchez, # 25339, John Doe
                        Defendants.
21
22
23
24
                     I, Jing Xu, The Plaintiff in this case, respectfully request an appointment of counsel
25       in this action.
26                   Title 28 of the U.S. Code provides that “the court may request an attorney to
27       represent any person unable to afford counsel.” 28 U.S.C. 1915 (e). “In deciding whether to
28       appoint counsel pursuant to 28 U.S.C. 1915, the district court must evaluate both the

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         likelihood of success on the merits and the ability of the petitioner to articulate his claims pro
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         se in light of the complexity of the legal issues involved. ” Wright v. Grady, 2011 US App
2
         LEXIS 14708 (9th Cir. 2011).
3
4
         “Neither of these factors is dispositive and both must be viewed together before reaching a
5        decision on request of counsel.” Wilborn v. Escalderon, 789 F. 2d. 1328, 1331 (9th Cir.
6        1896).
7
8        This request should be granted because:
9        1. There is a likelihood of success on the merits because:

10            The sequence of events is as follows: The Plaintiff, seeking protection from spousal
         violence, made an urgent 911 call. When the spouse showed contrition and promised to cease
11
         violence, the Plaintiff attempted to cancel the police arrival with a second 911 call. The 911
12
         operator informed the couple that the dispatched officers’ arrival was inevitable but provided
13
         guidance on how to cancel this incident in front of the police.
14
15            Upon the officer’s arrival, the spouse's efforts to convey the Plaintiff’s cancellation of
16       the call were met with an unanticipated and forceful police action. The officers handcuffed
17       the spouse and coerced a false accusation against the Plaintiff. This accusation, unverified, let
18       to the Plaintiff’s immediate and hasty handcuffing. The Plaintiff's attempts to present
19       exculpatory evidence and rectify the situation were disregarded by the officers. The plaintiff

20       repeated entreaties to the officers to review the evidence were met with false assurances,
         ultimately resulting in the plaintiff being instructed to depart from the scena under the guise
21
         of ongoing investigation—a process never intended to be fulfilled.
22
23
              Plaintiff was then erroneously arrested by the Los Angeles Police Department on a
24
         misdemeanor charge in 2020, based on an incorrect assessment of the aggressor. The relevant
25       criminal case was dismissed and a Petition for Factual Innocence, Penal Code 851.8, was
26       granted based on the evidence that did not establish Probable Cause to believe Plaintiff
27       committed a crime.
28
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              The defendant police officers engaged in egregious misconduct, resulting in the false
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         arrest, false imprisonment, and malicious prosecution without probable cause, which violent
2
         Plaintiff’s constitutional rights. The misconducts are listed but not limited to below:
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4
         First Misconduct
5             Officers improper handcuffed Plaintiff’s spouse represents an unlawful de facto arrest.
6        This tactic, employed within a confined space, served to unduly intimidate the spouse into
7        providing unfounded allegations against Plaintiff (Please Note, this officers first misconduct
8        occurred at the outset of entire the incident that evening and served as the precursor for
9        subsequent actions that constituted further misconduct.)

10
              Officers initially designated the spouse as the suspect based on the first 911 call,
11
         handcuffed and pat him down immediately upon encountering him. The questioning that
12
         followed, executed in a restricted and confined environment, put his face to the wall,
13
         intensified the already heightened levels of stress and duress. It is within this coercive
14
         context that the spouse, feeling entrapped and coerced, was led to erroneously accusations
15       against the plaintiff in an attempt to escape the situation.
16
17            It is critical to note that the officers maintained the use of handcuffs on the spouse
18       throughout the entire incident, from the onset of the encounter until the plaintiff's arrest and
19       subsequent leaving the scene. Handcuffing persisted beyond the point at which Officers’

20       initial suspicious were dispelled, contrary to the guidelines set forth in People v. Stier, 2008
         DJDAR 16561 California, “the detention must be temporary, last no longer than necessary
21
         for the officer to confirm or dispel the officer's suspicion, and be accomplished using the
22
         least intrusive means available under the circumstances. (Florida v. Royer (1983) 460 U.S.
23
         491, 500, 103 S.Ct. 1319, 75 L.Ed.2d 229; People v. Celis (2004) 33 Cal.4th 667, 674-675,
24
         16 Cal.Rptr.3d 85, 93 P.3d 1027; In re Carlos M. (1990) 220 Cal.App.3d 372, 384-385, 269
25       Cal.Rptr. 447.) A detention that does not comply with these requirements is a de facto arrest
26       requiring probable cause.”
27
28            Furthermore, legal precedent establishers that Handcuffing a suspect during a detention

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         has only been sanctioned in cases where the police officer has a reasonable basis for
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         believing the suspect poses a present physical threat or might flee. (In People v. Stie (2008)
2
         re Antonio B., supra, 166 Cal.App.4th at p. 442, 82 Cal.Rptr.3d 693.) In this case scenario
3
         presented, the spouse exhibited no such risk, engaging with the officers in a manner that was
4
         polite, amiable, and compliant. The officers outnumber the one suspect spouse. There were
5        four police, and all the three male police were physically much stronger and bigger than the
6        spouse. The officers chose to handcuff the spouse even after patting him down, confirming
7        he was unarmed, which contravenes the rationale for minimal intrusion upheld in People v.
8        Stier (2008). “A pat down, while also intrusive, would have been less intrusive than
9        handcuffing and more consistent with” the spouse's demeanor and Officers'” level of

10       suspicion about the likelihood the spouse was armed.

11
               The resultant holding that the spouse “had been involuntarily confined within the small,
12
         confined space without probable cause, that, at the time, the involuntary detention had
13
         exceeded the limited restraint permitted by Terry v. Ohio, 392 U.S. “It cannot fairly be said
14
         that the functional equivalent of an arrest had taken place.”
15
16             In criminal proceedings, evidence derived from police impropriety is considered tainted
17       by the 'fruit of the poisonous tree' doctrine. Analogously, in this civil rights lawsuit, the false
18       allegations brought forth are a direct consequence of police misconduct. Given the
19       involuntary nature of the spouse's accusations under such a coercive environment, it is

20       evident that the entire subsequent criminal case against the plaintiff stems from this initial
         misconduct. Utilizing these coerced accusations as evidence infringes upon the plaintiff's
21
         constitutional rights.
22
23
         Second Misconduct
24
               Officers arresting Plaintiff predicated solely piece of unreliable testimony without
25       proper investigation into the veracity of the accusations.
26
27             The spouse claims to be the victim, and the only evidence suggesting probable cause
28       for the plaintiff's arrest stemmed from the spouse's allegations, which, given the spouse's

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         potential as a suspect, cannot be deemed a reliable foundation for probable cause. The
1
         officers' failure to investigate the veracity of the allegations constitutes a significant
2
         dereliction of duty. In Arpin v. Santa Clara Valley Transportation Agency 1252 1150 (2001),
3
         “in establishing probable cause, officers may not solely rely on the claim of a citizen witness
4
         that he was a victim of a crime, but must independently investigate the basis of the witness'
5        knowledge or interview other witnesses.” See Fuller v. M.G. Jewelry, 950 F.2d 1437, 1444
6        (9th Cir.1991). “[T]he failure to make a further inquiry when a reasonable person would have
7        done so may be evidence of a lack of probable cause.” Lowth v. Town of Cheektowaga, 82
8        F.3d 563, 571 (2d Cir.1996); see also Bullard v. City of New York, 2003 WL 168444, a
9        (S.D.N.Y. Jan. 20, 2003) (“denying a motion to dismiss where the facts as alleged by the

10       plaintiff in his complaint established that the victim was not a reliable source of probable
         cause, and yet “he defendants did nothing to investigate the allegations, corroborate them, or
11
         pursue [the plaintiff’s] claims that he was innocent.”).
12
13
               Thus, if there are “circumstances that raise[d] doubts as to the victim’s veracity”, the
14
         police were under some limited duty to investigate the matter further. Singer v. Fulton
15       County Sheriff, 63 F.3d at 119 (1995). This is especially true where the plaintiff and the
16       complainant knew each other prior to the alleged incident. See Mistretta v. Prokesch, 5 F.
17       Supp. 2d at 133 (1998) (“The most common situation in which such doubts arise is when
18       there exists a prior relationship between the victim and the accused that gives rise to a motive
19       for a false accusation.”). Especially in this case, the plaintiff’s spouse as a witness is himself

20       a suspect as here. A false allegation by a civilian complainant should not be permitted to
         serve as a rubber stamp for an arrest.
21
22
         Third Misconduct
23
               No supporting evidence to support the spouse’s accusation.
24
25             Despite the spouse’s baseless accusations that Plaintiff hit him with a metal bottle, there
26       was no visible evidence of injury or physical harm to the spouse. The officers, upon viewing
27       video evidence of the incident,” could not observe the bottle making contact with the
28       husband’s head”.

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         Fourth Misconduct
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               Officers unreasonably ignored Plaintiff’s side story and exculpatory evidence.
3
4
               The story of Plaintiff’s side contrasted significantly with the story of the spouse. Upon
5        the officers’ arrival, Plaintiff clarified that she was the originator of the 911 call seeking
6        protection. After this call, the spouse ceased the violent behavior and apologized, motivated
7        by a desire to de-escalate the situation prior to police involvement. In light of the cessation of
8        violence and the spouse's apology, the plaintiff made a second call to 911 with the intent to
9        withdraw the request for police arrival. Plaintiff clearly expressed to the police that Plaintiff

10       intent to cancel the incident and they are fine now. (Please Note: The aforementioned event
         took place at the outset of the entire sequence of the incident, immediately following the
11
         initial alleged the First Police Misconduct involving the handcuffing and de facto arrest of
12
         the spouse).
13
14
               Despite Plaintiff’s initial statements and the two 911 calls were contradicted by the
15       spouse’s accusations, the officers proceeded to handcuff Plaintiff without investigating the
16       veracity of the spouse’s accusations. Moreover, Officers afforded the Plaintiff no opportunity
17       to articulate her side of the story before being handcuffed. Plaintiff promptly inquired the
18       reason and unequivocally refuted any acts of violence towards the spouse. Plaintiff
19       emphasized to Officers that there had been a critical misjudgment in identifying the

20       aggressor and the actual victim in this incident. Moreover, when confronted with the claim of
         existing video evidence purportedly showing the plaintiff engaging in violence, Plaintiff
21
         expressed immediate skepticism regarding the authenticity and relevance of such footage,
22
         given the events of that evening. Plaintiff insisted that if such a video did exist, the officers
23
         must examine the time stamp to verify its pertinence to the incident in question. Plaintiff
24
         urged a meticulous review of the video to ensure the accuracy of its content and its
25       chronological alignment with the alleged events.
26
27             Despite Plaintiff repeated requests and pleas for Officers to review the exculpatory
28       evidence such as the video record time, 911 calls details, and the video details etc., Officers

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         unreasonably and willfully ignore it. There was no third-party witness for this incident,
1
         Plaintiff was an eyewitness to the incident and her statements and evidence were significant
2
         in proving her innocence. In establishing probable cause, officers may not solely rely on the
3
         claim of a citizen witness that he was a victim of a crime but must independently investigate
4
         the basis of the witness' knowledge or interview other witnesses. See Fuller v. M.G. Jewelry,
5        950 F.2d 1437, 1444 (9th Cir.1991).
6
7             In the situation, the officers handcuffed both Plaintiff and her spouse individually. As
8        the officers were in full control of the situation and there was no apparent danger present,
9        they were not justified in disregarding Plaintiff’s exculpatory evidence requests. Especially,

10       when the only piece of evidence was from the witness/complainant who is a suspect, which is
         an unreliable resource. In obtaining such reliable information, officers cannot look only at the
11
         evidence of guilt while ignoring all exculpatory evidence. Rather, the officers must consider
12
         the totality of the circumstances, recognizing both the inculpatory and exculpatory evidence,
13
         before determining if Officers have probable cause to make an arrest. Ouza v. City of
14
         Dearborn Heights (2020)
15
16            Subject and returned to the “totality of the circumstances” approach to evaluate
17       probable cause based on an informant’s tip in Illinois v. Gates (Supreme Court, 1983), the
18       main defect of the two-pronged test, (1) revealing the informant's "basis of knowledge" and
19       (2) providing sufficient facts to establish either the informant's "veracity" or the "reliability"

20       of the informant's report. Justice Rehnquist concluded for the Court, was in treating an
         informant’s reliability and his basis for knowledge as independent requirements. Instead, “a
21
         deficiency in one may be compensated for, in determining the overall reliability of a tip, by a
22
         strong showing as to the other, or by some other indicia of reliability.” In evaluating probable
23
         cause. Failure to consider Plaintiff’s side story, statements, requests, and exculpatory
24
         evidence, consider as compensated information for the spouse’s deficient information, is lack
25       of probable cause.
26
27            Plaintiff’s repeated requests to officers checking the exculpatory evidence is also a “fair
28       warning” that the officers’ conduct would be unlawful if further supported by our precedent

                                                        7

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         establishing that officers must consider both inculpatory and exculpatory evidence when
1
         assessing probable cause. Ouza v. City of Dearborn Heights (2020)
2
3
              More importantly, warrantless arrest “standards must be “at least as stringent” for
4
         warrantless arrest as for obtaining warrant”. See Whitely v. Warden, 401 U.S. 560, 566
5        (1971). For another case applying essentially the same probable cause standard to warrantless
6        arrests as govern arrests by warrant, see McCray v. Illinois, 386 U.S. 300 (Supreme Court,
7        1967) (informant’s statement to arresting officers met Aguilar probable cause standard).
8
9        Fifth misconduct

10            Officers failed to reconcile the inconsistencies in witness statements and physical
         evidence present at the scene.
11
12
              The spouse initially claimed that the altercation occurred solely upstairs; however, the
13
         presence of physical evidence such broken glass downstairs contradicted this account. When
14
         questioned about the specifics of the alleged assault, the spouse's account varied. Initially, the
15       spouse identified the left side of the head as the point of impact, but later claimed an inability
16       to recall which side was struck. Furthermore, the spouse's estimation of the number of times
17       they were hit by the Plaintiff shifted from "several" to an uncertain "maybe once?"
18
19            The spouse did concede to engaging in violent conduct towards Plaintiff, albeit under

20       the claim of self-defense. This admission, alongside the inconsistency in the spouse's
         statements, does not conclusively establish self-defense and, under California Penal Code
21
         Section 13701, casts doubt on the identification of the dominant aggressor.
22
23
              Despite the spouse's admission of pushing Plaintiff, purportedly in self-defense, the
24
         Plaintiff consistently did not say any violence by the spouse initially, which is corroborated
25       by the Plaintiff's attempt to cancel the second 911 call. Post-handcuffing, Plaintiff maintained
26       that the incident depicted in the video occurred at a different time, not corresponding with the
27       incident in question.
28
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               The officers neglected to consider the significant disparity in physical stature and
1
         strength between Plaintiff and the spouse, which could easily result in the Plaintiff being
2
         overpowered. By misidentifying the aggressor, there is a risk of perpetuating ongoing
3
         violence against a vulnerable individual. In accordance with California Penal Code Section
4
         13701, officers are obligated to protect victims from further domestic violence, ensuring that
5        individuals in a position of vulnerability are not left in continuing jeopardy.
6
7        Six Misconduct
8              If the officers consider Plaintiff’s side story and had followed Plaintiff’s request to
9        check Plaintiff’s exculpatory evidence at the time they arrest Plaintiff, it would have let them

10       to a different decision.

11
               Had officers showed Plaintiff the video, she would have been able to point out several
12
         obvious inconsistencies such as different clothe she was wearing, different location, different
13
         hair style etc. most significantly, the time shown on the video is moments after Plaintiff’s
14
         first 911 call for protection from the spouse’s violence. Both plaintiff and the spouse gave
15       statements that the incident only happened before the first 911 call. Also, upon close scrutiny
16       of the bodycam footage released to the Plaintiff, it is evidence that the police click on two
17       slightly different videos of the same incident when they are holding the spouse’s phone.
18       Although the content of the video is substantially the same, they start seconds apart, apparent
19       only by two different thumbnail photographs appearing on the phone, indicating that one

20       video is necessarily copied.

21
         Totality of the circumstances
22
               Under the Fourth Amendment, an arrest must be predicated on probable cause, which is
23
         evaluated based on the totality of circumstances available to the officers at the time of the
24
         arrest. United States v. Humphries, 372 F.3d 653, 657 (4th Cir. 2004). Officers, when
25       assessing the totality of the circumstances, appeared to rely solely on the spouse’s
26       uncorroborated information, while disregarding Plaintiff’s side of the story and the
27       exculpatory evidence prior to arrest Plaintiff. More importantly, Emergency 911 calls are
28       often given a degree of credibility since they are made in real-time. Such selective

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         consideration does not constitute a sufficient basis for establishing probable cause. The
1
         available evidence suggests that Officers arrested Plaintiff based on the spouse’s unexamined
2
         charge, without a thorough independent investigation into the validity of the spouse's
3
         domestic violence allegations. If Officers did not independently investigate spouse's claim of
4
         domestic violence, they did not have probable cause to arrest Plaintiff. See Arpin v. Santa
5        Clara Valley Transportation Agency 1252 1150 (2001).
6
7        Under Saucier v. Katz, (2001), the facts indicate that plaintiff’s constitutional rights have
8        been violated,.and the rights was clearly established at the time of the false arrest.
9
10       2. The Plaintiff will have difficulty articulating her claims pro se due to the complexity
         of the legal issues involved because:
11
              I respectfully request the appointment of limited scope counsel to assist me with the
12
         discovery process in this case because I am encountering insurmountable challenges due to a
13
         combination of financial hardship, legal complexity, and language barriers.
14
15            First, I do not have income to support myself finding attorney on discovery process for
16       this litigation. Since the commencement of the related criminal case in early 2020, I have
17       been without job and income. As a non-citizen, the blemish of a criminal record has rendered
18       me ineligible for visa applications, employment opportunities, and has effectively barred me
19       from leaving and re-entering the United States to seek work abroad. Despite a successful

20       Factual Innocence motion, a statutory three-year waiting period for record destruction, and
         the record destruction process is too complex and slow. An ongoing record destruction
21
         process that has left my life in a state of indefinite suspension.
22
23
              Second, the discovery phase has proven to be beyond my capacity to navigate
24
         effectively. My initial requests for production, admission, and interrogatories were met with
25       a near-universal response of objections. These requests were prepared with guidance from
26       multiple consultations at the Federal Court Pro Se Clinic for over two months and extensive
27       personal research in law library and online. Nevertheless, the precise legal and linguistic
28       accuracy required to elicit the necessary facts from the discovery process is, regretfully,

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         beyond my current ability.
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              The Pro Se Clinic has advised me that even seasoned attorneys find the discovery
3
         process challenging. Facing a team of experienced city attorneys exacerbates this challenge,
4
         creating a significant imbalance. The disparity in legal expertise, coupled with the language
5        barrier as an individual for whom English is not a first language, presents a profound
6        inequity. Without the capability to conduct discovery effectively, I am at an impasse; unable
7        to gather the facts essential to substantiating my claims. The appointment of counsel would
8        afford me the means to present my case clearly and accurately, ensuring a fair judicial
9        process and upholding the integrity of this court's proceedings, as emphasized in Hunter v.

10       Sokoloff (2020) “the need for discovery "does not necessarily qualify the issues involved as
         `complex'" because "[m]ost actions require development of further facts during litigation and
11
         a pro se litigant will seldom be in a position to investigate easily the facts necessary to
12
         support the case." Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir. 1986)”
13
14
              Third, I urgently petition this Court for the appointment of limited scope counsel to
15       guide me through the entire discovery process. Recognizing the Court's constraints, I would
16       graciously accept, as an alternative, the appointment of counsel specifically for the purpose
17       of conducting depositions.
18
19            The deposition stage represents a critical juncture wherein I must secure substantive

20       responses from the defendants—responses that will underpin the strength of my case. As a
         pro se litigant facing formidable language and legal hurdles, the sophisticated nature of
21
         depositions presents a significant challenge. Without legal expertise, I am unprepared to
22
         effectively counter objections or refusals to answer deposition questions by the defendants,
23
         which could irreparably weaken my position. The provision of counsel, even limited to
24
         deposition assistance, is not simply a benefit—it is a necessity to traverse the complex legal
25       landscape ahead. Without such support, I am at risk of being unable to fulfill the procedural
26       and substantive demands of the discovery process, thereby stalling my pursuit of justice.
27
28            The appointment of counsel for discovery, and particularly for depositions, is

                                                       11

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         imperative to ensure that my case is presented with the clarity and legal proficiency required
1
         for a just resolution. It is a fundamental plea from my position as a pro se litigant, without
2
         which I fear my ability to proceed will be severely compromised.
3
4
              I earnestly appeal to the Court's commitment to fairness and justice in considering this
5        crucial request, which I believe to be instrumental for the equitable determination of this
6        matter.
7
8      Dated: 1.31.2024
9                                                   Sign:

10                                                  JING XU
                                                   Plaintiff in Pro Per
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